                                          United States Department of Agriculture



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Animal and Plant       August 27 \ 2014
Health Inspection
Service                Pamela Sellner
                       Tom Sellner
4700 River Road        Cricket Hollow Zoo
Riverdale, MD 20737    1512 210th Street
                       Manchester, IA 52057

                       Dear Mrs. Sellner,

                       Your appeal to the inspection report dated May 21", 2014 was thoroughly reviewed by
                       an Animal Care appeal team consisting of t.he Assistant Regional Director in Ft. Collins,
                       CO, an Animal Care Field Supervisor, and me. The appeal is addressed below.

                       We very much appreciate the time and effort in expressing and conveying your thoughts
                       and concerns regarding the inspection of your facility. We thoroughly reviewed your
                       letter, the reports, and the photos and wanted to carefully answer your appeal letter.

                       All 20 citations will stand as written. In response to the inspection hours, 1 have
                       provided the definition of business hours listed in the 9 CFR. Our definition indicates
                       inspections are to be conducted within reasonable hours between 7 a.m. and 7 p.m. The
                       inspectors were operating within the normal inspection procedures when they inspected
                       at9:00a.m ..

                       Regarding the matter of biosecurity, we agree, biosecurity is paramount and should be
                       followed at each and every facility. Our inspectors have been directed to continue
                       following biosecurity measures and will ensure they are followed at your facility. Lastly,
                       we appreciate your comments on our inspectors, but would like to reiterate our
                       inspectors are trained to be fair and impartial.

                       All decisions made by the appeals teams are final and represent USDA's final
                       determination of compliance.                                             ·

                      . We have included a factsheet explaining our new appeals process here for your reference.
                        It may also be found at:
                        http://www.aphis.usda.gov!publications/animal welfare/2014/appeals process.pdf.

                      At USDA Animal Care, ensuring the welfare of the animals we regulate is at the heart of
                      everything we do.




                      Elizabeth Goldentyer, DVM
                      Regional Director




                                                                                             Case 6:14-cv-02034-JSS Document 29-3 Filed 06/29/15 Page 1 of 7
                      An Equal Opportunity Provider and EmplOyer                                         Ex 12-0733
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                                           United States Department of Agriculture

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Animal and Plant          June 23, 2014
Health Inspection
Service

Animal Care
Western RSgjon
                          Pamela Sellner                                             Registration Number: 42-C-0084
                          Cricket Hollow Zoo                                         Customer Number: 5143
2150 Centre Avenue        1512 210'" Street
Building 8, 3W11          Manchester lA 50257
Fort Collins. CO
80526
Phone: 970/494-7478        Dear Ms. Sellner
Fax: 970/~94-7461

                          We. have reviewed your letter sent on June 2, 2014, wherein you appeal the findings on the
                          May 12 an-d May 21, 2014 inspection reports. After review of your correspondence, the
                          inspection reports were evaluated for. appropriateness and consistency
                                                                                              .     with the
                          regulations and standards as contained in Title 9 of the Code of Federal Regulations,
                          Chapter 1, Subchapter A. At this time, we could not find sufficient justification to remove
                          the documented citations. Please note that when you sign the application and agree to the
                          condition of licensure, you agree to comply with the Animal Welfare Act and its regulations
                          and standards as a USDA licensed facility. Facilities are expected to meet or exceed all
                          standards and regulations in the Animal Welfare Act at all times.

                          With regard to the attempted inspection done on May 12, 2014; our inspectors do not
                          inspect in dangerous conditions. The two inspectors present on that attempted inspection
                          stated that there was no thunder and lightning in the area at the time they attempted to
                          conduct an inspection.

                          To address your concern that the inspectors did not secure doors and that they breached
                          your facilities biosecurity protocols: at facilities that are open to the public such as a zoo,
                          our inspectors follow the security and biosecurity as directed by the facility. For instance, if
                          footbaths or protective clothing is required by the facility and this is stated to the
                          inspectors, that protocol will be followed. The inspectors did not receive·.a request from
                          the licensee to follow any such protocol nor were they directed to' open or close any doors
                          at the facility. In addition, neither inspector went to any other facility the day of your
                          inspection so no breach of biosecurity could have occurred.

                         You state that you are aware of regulated facilities that are not in compliance with the
                         Animal Welfare Act regulations and standards. USDA APHIS Animal care will investigate
                         any claims that you have regarding other exhibitors tt.at you feel are not in compliance.
                         Please submit your specific information, including names and locations to the Regional
                         Office at the address above and your complaint will be addressed.

                         With regard to your request that a new Inspector be assigned to your facility, I do not find
                         any reason or evidence to support a change of inspectors. It has been my experience that
                         Dr. Heather Cole is a professional of the highest caliber and conducts herself as such. If you
                         have any specific evidence to the contrary, then please present that information to the
                         Regional Office for consideration and review.


                    An Equal Opponunity Provider and Employer
                                                                                                 Case 6:14-cv-02034-JSS Document 29-3 Filed 06/29/15 Page 2 of 7
                                                                                                             Ex 12-0734
  We appreciate that you have already addressed some of the non-compliant items noted on
  the inspection May 21, 2014 report and trust that all others will be addressed by the timelines
  given on the inspection report.

   If you wish to appeal this determination to the Regional Director, please know that if we do
   not hear from you within 30 days, the original inspection report and any amendments will be
   posted online at that time.

   I hope this letter has satisfactorily addressed your concerns. If you have any further questions
   regarding the Animal Welfare Act and its regulations and standards, please feel free to
  address them in writing at the above address. The welfare of your animals is our shared
  concern.


 Sincerely,

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                  ,..:......
 Tanya Tims, DVM
 Supervisory Veterinary Medical Officer
 USDA, APHIS, Animal Care




                                                                          Case 6:14-cv-02034-JSS Document 29-3 Filed 06/29/15 Page 3 of 7
An Equal Opportunity Provider and Employer                                           Ex 12-0735
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Animal and Plant       August 29, 2013
Health Inspection
Service
                       Pamela Sellner
Animal Care
Western Region
                       1512 210th Street
                       Manchester, lA 52057
2150 Centre Avenue
Building B, 3W11
Fort Collins, CO       Dear Ms. Sellner:
80526
Phone: 970/494-7478
Fax: 970/494-7461      I write in reply to your further appeal of three citations from the inspection report
                       dated June 12, 2013. Each citation is addressed individually below.

                      With regard to the citation of Section 3.127(c), Drainage: as requested, copies of
                      photographs showing-the noncompliance are includedbelow.                   ·· --- ---




                      The citation of this noncompliance on the inspection report states: "The cattle
                      must walk through the water and mud in order to access the food and water
                      receptacles in the enclosure. The cattle were observed to sink in the mud almost
                      to the level oftheir 'knees' as they walked in this area. Their coats were muddy
                      along the entire length of their legs and on the undersides of their
                      abdomens. " The photographs clearly depict the noncompliance as described.

                      With regard to the citation of Section 3.10, Watering: photographic evidence
                      depicts a buildup of green material (as stated on the inspection report) as opposed
                      to a "slight green color."


                      An Equal Opportunity Provider and Employer                      Case 6:14-cv-02034-JSS Document 29-3 Filed 06/29/15 Page 4 of 7
                                                                                                      Ex 12-0736
    With regard to the citation of Section 2.40(b) (2), Attending Veterinarian and Adequate
    Veterinary Care: I am glad to hear that subsequent to our inspection, .you had your
    veterinarian evaluate the nonhuman primate, Cynthia. Further, I am glad to hear that she
    is improving and "looks good right now." Please note that if you had contacted your
    veterinarian at the time the condition needed veterinary attention, as opposed to after our
    inspector identified said condition during the inspection, a citation would not have been
    written.

    Based on the information above, the three appealed citations will remain on the
    inspection report as written.

      With regard to your question "how good is good enough": the standards of the Animal
      Welfare Act do not represent or create an expectation of perfection; they are coiisidered
· · - to·be the minimum·standaids tlmt must be met by:Tegulatedfacil.itiesinorder tore uc ····    -    ·-.- ··
      compliance. Most regulated facilities exceed those standards, but that is not
      required. However, full compliance with the minimum standards is required and
      expected.

    If you have additional information you wish to be considered, please forward it to the
    address provided. If we do not hear from you within 30 days, the original inspection
    report will be posted online at that time. Thank you for your interest in the welfare of ·
    animals.

    Sincerely,




   Robert M. Gibbens, DVM
   Director, Western Region
   USDA, APHIS, Animal Care




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           An Equal Opportunity Provider and Employer
                                                                          Case 6:14-cv-02034-JSS Document 29-3 Filed 06/29/15 Page 5 of 7
                                                                                          Ex 12-0737
                                         United states Department of Agriculture



Animal and Plant        July 11, 2013
Health Inspection
Service                 Pamela Sellner
                        1512 - 210'h St.
Animal Care
                        Manchester, lA 52057
Western Region

2150 Centre Avenue      Dear Ms. Sellner:
Building B, 3W11
Fort Collins, CO
80526                    I am writing in response to your letter dated June 24, 2013 in which you appeal some of
Phone: 970/494-7478      the findings of your June 12,2013 inspection report. After review of your appeal and
Fax: 970/494-7461.
                         consultation with the inspector, the inspection report and associated documentation
                         were evaluated for appropriateness and consistency with the program
                    ----practices/procedures <111!Ttlle regwat;onsarnl stanaarils-as-contained in Title 9 ofthe --o - - - - -   -

                         Code of Federal Regulations, Chapter 1, Subchapter A.

                        The findings are as follows:

                        With regard to the citation of Section 2.40 (b)(2): This non-compliant item is consistent
                        with program guidance and practices and will remain as written.

                        With regard to the citation of Section 3.10: This non-compliant item and the
                        photographic evidence submitted by the inspector are consistent with program
                        guidance and practices and will remain as written.

                        With regard to the citation of Section 3.127 (d): This non-complaint item and the
                        photographic evidence submitted by the inspector are consistent with program
                        guidance and practices and will remain as written.

                        If you wish to appeal this determination to the Regional Director, please know that if
                        we do not hear from you within 30 days, the inspection report will be posted online at
                        thattime.

                        I hope this.letterhas satisfactorily addressed your concerns. If you nave any further
                        questions regarding .the Animal Welfare Act and its regulations and standards, please
                        feel free to address them in writing at the above address.




           ;1R~~ fr.<~~/L
                        Katheryn Ziegerer, tvM
                        Supervisory Veterinary Medical Officer
                        Omaha, NE
                        USDA-APHIS-Animal Care Western Region




                       An Equal Opportunity Provider and Employer
                                                                                       Case 6:14-cv-02034-JSS Document 29-3 Filed 06/29/15 Page 6 of 7
                                                                                                        Ex 12-0738
                                                                                                 December 26, 2012

 United States
 Department of
·_Agriculture           Pamela Sellner
 Animal and Plant       Tom Sellner
 Health Inspection      Cricket Hollow Zoo
 Service
                        1512 210'h St.
 Animal Care
 Western Region ·       Manchester, IA 52057
 2150 Centre Ave.
 Building B
 Mail Stop # 3W11
 Ft Collins. co aos2a   Dear Ms. Sellner:
 Phone: 970/494~7478
 Fax: 970/494~7461


                        We have received and reviewed your letter ofDecember 13, 2012, wherein you are
                        appealing our findings documented under Sections 3.75(c)(3), 3.131(a), and 3.13l(c) on
                        our inspection report of November 26, 2012.

                        After review of your appeal, our inspection report and associated documents and
                        photographs were evaluated for appropriateness and consistency with the regulations and
                        standards as contained in Title 9 of the Code of Federal Regulations, Chapter 1,
                        Subchapter A. We find that the documentation contained in our inspection report
                        accurately reflects conditions at your facility during our inspection. We therefore do not
                        find sufficient justification to remove or change any of the citations documented on our
                        report. Your appeal is therefore denied.

                        If you wish to appeal this determination to our Regional Director, please know that if we
                        do not receive a response to that effect within 30 days, the original inspection report will
                        be posted online at that time.

                        Sincerely,



                        R. Ridenour, DVM
                        SVMO-'- Siipervisory Ailinlal Care Specialist
                        USDA, APHIS, Animal Care




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                                                                                                          Ex 12-0739
